                   IN  THE  UNITED  STATES  DISTRICT  COURT  
                  FOR  THE  SOUTHERN  DISTRICT  OF  ALABAMA  
                              SOUTHERN  DIVISION  
  
JERARDO GONZALEZ PEREZ,                              :

       Petitioner,                                   :

vs.                                                  : CIVIL ACTION NO. 11-0585-KD-C

UNITED STATES OF AMERICA,                            : CRIMINAL ACTION NO. 10-0032-KD

       Respondent.
  
                                                   ORDER  

       After  due  and  proper  consideration  of  all  portions  of  this  file  deemed  

relevant  to  the  issues  raised,  and  there  having  been  no  objections  filed,  the  

recommendation  of  the  Magistrate  Judge  made  under  28  U.S.C.  §  636(b)(l)(B)  and  

dated  January  28,  2013  is  ADOPTED  as  the  opinion  of  this  Court.     

       Accordingly,  Jerardo  Gonzalez  Perez’  request  to  vacate,  set  aside  or  correct  

his  sentence  (Doc.  422;  see  also  Doc.  425)  is  DENIED.  Perez  is  not  entitled  to  a  

certificate  of  appealability  and,  therefore,  he  is  not  entitled  to  appeal  in  forma  

pauperis.  

       DONE  this  1st  day  of  March,  2013.  

                                           s/  Kristi  K.  DuBose                                      
                               KRISTI  K.  DuBOSE  
                               UNITED  STATES  DISTRICT  JUDGE     
  
